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Case 2:20-cv-12734-MAG-EAS ECF No. 128-6, PageID.6251 Filed 08/02/23 Page 2 of 21
                                    David Sujkowski
                                     July 06, 2023                              1

                                                                          Page 1
     1                     UNITED STATES DISTRICT COURT

     2                     EASTERN DISTRICT OF MICHIGAN

     3                           SOUTHERN DIVISION

     4

     5 JUSTIN GUY, individually and on

     6 behalf of those similarly situated,

     7                     Plaintiff,

     8              vs.                  Case No. 20-cv-12734-MAG-EAS

     9                                   HON. MARK A. GOLDSMITH

    10 ABSOPURE WATER COMPANY, LLC

    11 a domestic limited liability company,

    12                      Defendant.

    13

    14

    15

    16       The Deposition of DAVID SUJKOWSKI,

    17       Taken in Carleton, Michigan,

    18       Commencing at 4:05 p.m.,

    19       Thursday, July 6, 2023,

    20       Before Laurie R. Mayer, CSR-5385.

    21

    22

    23

    24

    25


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                                                                      Page 2                                                                Page 4
         1 REMOTE APPEARANCES:
                                                                                1 carleton, Michigan
                                                                                2 Tilursday, July 6, 2023
         3 ANDREW R. FRISCH
                                                                                3 4:05 p.m.
         4 8151 Peters Roed, Suite 4000
                                                                                4
         5 Plantation, Florida 33324
                                                                                5                           DAVID SUJl«l,ISKI,
         6 1954) WORKERS
                                                                                6      was thereupon called as a witness herein, and after
         7 afrisch•forthepeople. com
                                                                                7      having first been duly ~m to testify to the truth,
                 Appearing on behalt of the Plaintiff .
                                                                                8      the wh::lle truth and nothing rut the truth, was
                                                                                9      examined and testified as follCMS:
       10 MICHAEL 0. C'UKHINGS
                                                                               10                               EXAMINATIOO
       11 CUmmings, HcClorey, Davis & Acho, P . L . C.
                                                                               11 BY MR. Wf.1005:
       12 1185 Avene of The America11, Third Floor
                                                                               12 Q.   Mr. SUjka.'ski, \t,Ollld you please state your fall narre
       13 1212) 547-8810
                                                                               13      for the record?
       14 IIICUl'lllllingsCk:mda-law.com
                                                                               14 A.   David Andrew SUjka.,ski.
       15 N.Y. Bar No. 2701506
                                                                               15 Q.   And what is your current ackiress?
       16        Appearing on behalf of the Defendant .
                                                                               16 A.                                                   Michigan
       17
                                                                               17      48183.
       18
                                                                               18 Q.   Thank you.    Have you ever had your deposition taken
       19
                                                                               19      before?
       20
                                                                               20 A.   I have not, no.
       21
                                                                               21 Q.   I will go over scxre of the ground rules and scxre of
       22
                                                                               22      the things that will happen so you will have an
       23
                                                                               23      understanding.    The first thing is, do you understand
       24
                                                                               24      that you are under oath and that potentially if you
       25
                                                                               25      said anything knowingly false, you might be subject to


                                                                      Page 3                                                                Page 5
                                           TABLE OF CONTENTS
                                                                                1      penalties for perjury?
                                                                                2 A.   Yes.
        3 WITNESS                                              PAGE
                                                                                3 Q.   And as you just did, please continue to answer
        4 DAVID SUJKOWSKI
                                                                                4      questions affirmatively, yes or no verbally, rather
                                                                                5      than nodding your head.     That will help us
        6 EXAMINATION
                                                                                6      trerrendously.
        7 BY MR.    CUMMINGS:
                                                                                7 A.   Understood.
        8 EXAMINATION
                                                                                B Q.   And, also, please try to listen to Trrf full question.
         9 BY MR. FRISCH :                                      42
                                                                                9      Saretill'es the question and the ansi.,,,er will seem
       10 RB-EXAMINATION
                                                                               10      obvious to you when I'm halfWl.y through, but I ~d
       11 BY KR. CUMMINGS :                                     43
                                                                               11      still please ask you to wait lllltil I finish Trrf
       12
                                                                               12      question, so for the court reporter both to get it
       13                                      EXHIBITS
                                                                               13      dcMr1 clearly in the transcript and to also give your
        14
                                                                               14      attorney any chance to object. Do you understand
       15 EXHIBIT                                              PAGE
                                                                               15      that?
       16 IExhibit11 retained by counsel. l
                                                                               16 A.   Yes.
       17
                                                                               17 Q.   And, also, I IIOUld like you not to guess for any
       18 EXHIBIT 1
                                                                               18      answers that -- or any questions that I ask.         It w:>Ul.d
       19 EXHIBIT 2
                                                                               19      be fine if you can give an approximation, say
       20 EXHIBIT 3
                                                                               20      approximately when or ha,,, long or scxrething, but not
       21 EXHIBIT 4
                                                                               21      guess .   [b you tmderstand that?
       22 EXHIBIT 5
                                                                               22 A.   Yes.
       23
                                                                               23 Q.   And I •m going to ask, ...auld you please, if you do not
       24
                                                                               24      understand Trrf question either because of audio issues
       25
                                                                               25      or you don't understand it, please let knew, okay?


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                                                                    Page 6                                                                 Page 8
         1 A.   Understood.                                                   1      can -- typically?
         2 Q.   lb/, is there anything going on with you tooay?               2 A.   Five-gallon water jugs, cases of water.        And then
         3      Saretines medication or other drugs or other issues           3      after -- any coolers, if you retrieved those, as well,
         4      that might prevent you fran \ll'lderstanding my questions     4      if you had coolers for the day, as well.
         5      and aI1S1Aering them fully?                                   5 Q.   And how did the coolers get an the truck?
         6 A.   No.                                                           6 A.   I 'NOUld put them on there.    I \\Ould find the coolers
         7 Q.   Nc:M, you are here tooay because you were once ell'ployed     7      that were a part of my route after I checked my
         8      at Absopure Water ~ ; is that correct?                        8      inventory.     Then I \\OUld go find my coolers, then
         9 A.   Yes.                                                          9      place them on the truck.
        10 Q.   Do you recall the dates that you were there?                 10 Q.   Did you ever put any -- and the coolers were to be --
        llA.    February of 2021 to March of 2022.                           11      was it correct that these coolers were to be placed in
        12 Q.   What was your position or positions when you were            12      custarer locations?
        13      there?                                                       13 A.   Yes.
        14 A.   My job title was listed as sales and setvice                 14 Q.   Did you ever have any other equipment that you placed
        15      specialist.                                                  15      in custarer locations?
        16 Q.   And for what reason did you leave in March of 2022?          16 A.   There ~ d be special items like coffee or any sort
        17 A.   I found another job opportunity.                             17      of roffee accessories that were picked up before you
        18 Q.   Are you currently errployed?                                 18      'NOUld leave the facility.
        19 A.   Yes.                                                         19 Q.   Did you ever pick up a coffee l!'aker or anything like
        20 Q.   What is your current position and enployer?                  20      that?
        21 A.   I am a senior accountant with Imlach Movers in               21 A.   Yes, periodically, there 'NOUld be a coffee l!'aker or
        22      Trenton.                                                     22      say a cup sleeve for a water cooler that saneone
        23 Q.   And for the first part here, I 1m going to ask sare          23      requested and specialty items like that that \IA'.Jllld
        24      questions about your job duties when you were with           24      care along every now and then.
        25      Absopure. And I \IA'.Jllld like to step you through - -      25 Q.   And was there a typical arrount of coolers that you


                                                                    Page 7                                                                 Page 9
         l      just so you understand, I will step you through your          l      \\UUld take with you on any given day?
         2      day.     Did you \I.Ork at the Plyrouth facility?             2 A.   It \\OUld range quite a bit.     I \IA'.Jllld say on a typical
         3 A.   Yes.                                                          3      day, you were looking at, let I s say three to four.
         4 Q.   And what was the very first thing you did when you            4 Q.   Was there a maxi.nun m.nnber that you took with you?
         5      arrived at \I.Ork each day?                                   5 A.   I believe I -- about 30 of them.
         6 A.   I held my baciJe up to their tiire clock, or I guess let      6 Q.   Okay. How often, to the best you can recall, \\OUld
         7      them k:ncM that I was there for the day.                      7      you take say rrore than 10 -- or 10 or rore?
         8 Q.   Did you do that every day?                                    8 A.   I \\OUld say - - let I s say 5, 5 to 10 tines, I did that.
         9 A.   Yes.                                                          9 Q.   And that \\OUld be during the entire tirre that you
        10 Q.   And what did you do next?                                    10      \\Orked?
        llA.    I 'NOUld go to my mailbox and retrieve my papen.ork.         llA.    During my duration there, yes.
        12 Q.   And what was the papen.ork that you retrieved?               12 Q.   Okay.      And after you obtained the coolers or whatever
        13 A.   It consisted of special deliveries, my route, all of         13      other equipment and checked or -- and looked at the
        14      my stops for that day and any other additional notes         14      inventory an your truck, what did you do next?
        15      that needed to be passed along.                              15 A.   You \\Wld - - if the inventory was correct, then you
        16 Q.   I apologize.     I forgot that I had not put my video on.    16      \\Wld pull your truck around and load everythi.IY:J into
        17      So now you can see ne.      And what did you do after        17      the handheld for your supervisor to check off on.
        18      retrieving your papen.ork?                                   18 Q.   And what was the handheld that you just rrentioned?
        19 A.   I went through it, made any notes that I needed --           19 A.   Well, a handheld device that preloaded our inventory
        20      that I wanted to personally, for the day.                    20      and our routes for the day, to check off that each
        21 Q.   And then what did you do next?                               21      delivery, each stop was carpleted. And then once it
        22 A.   I took my paper\\Ork and went out to my truck to do an       22      was ca!l)leted, it printed out a receipt to hand to the
        23      inventory of what was on there to verify everything          23      custcxrer.
        24      was correct.                                                 24 Q.   And what do you irean by preloaded? Was that -- was
        25 Q.   And what kind of prcxiucts were on the truck -- and you      25      sare infonration in the handheld when you first got it


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                                                               David Sujkowski
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                                                                   Page 10                                                             Page 12
         1      in the rroming?                                                 1 A.   Yes, I guess that -- yeah, you \I.Ullld go verify that
         2 A.   OUr route was for the day.     Once our supervisor              2      they had the inventory of coffee on hand, and you
         3      checked off, it was preloaded on there.        So all of our    3      ~ d enter that on to your inventory sheet and then
         4      stops coincided with what was on our papen.ork.                 4      proceed to go to the ll'allager for the final checkoff.
         5 Q.   And did, at sane point in the noming, did you pick up           5 Q.   And, again, after you -- the final checkoff with the
         6      the handheld or get it?                                         6      rranager, what did you do then?
         7 A.   Yes.     Typically, I \I.Ullld -- that ~ d be one of the        7 A.   Then they \IOUld have us just kind of     oo a walkthrough
         8      first things I would oo.     You ~ d get your handheld,         8      with the truck, wake sure the truck was in good
         9      yes.                                                            9      operating conditions, and I guess that WJ!d coincide
       10 Q.    was that before or after you got your papen.ork, for           10      with the final checkoff.      They \I.Ullld do a walkthrough
        11      exanple?                                                       11      with the truck, wake sure it was in good conditions.
       12 A.    It l!Ould be right at the same titre.                          12      And we 1.10uld go through this little checklist, I
       13 Q.    And you said you \I.Ullld -- you said sooething about --       13      guess, of making sure everything on the truck was
       14       I don't want to -- if I understand correctly, about            14      okay, and if there were any issues to note them.
       15       putting the inventory into the handheld when you got           15 Q.   Did you have a naire for the checklist that you went
       16       to your truck.     What l!Ould that be?                        16      through or a term you used for it?
       17 A.    Yeah.     How I typically did it was, I ~ d put the            17 A.   Not specifically, not that I can recall.
       18       inventory into the handheld once I got back to the             18 Q.   Did you go through that checklist with the wanager?
       19       office.     I verified everything on my papen.ork as far       19 A.   Yes, there were -- yeah, on a typical day, we l!Ould go
        20      as inventory beirr:1 carplete, and then I would load it        20      through the checklist, and they would wake sure that
       21       into the handheld at the office right before handin;1          21      everything was gco:i to go.
       22       it to my supervisor.                                           22 Q.   And you did that -- was this after you drove your
        23 Q.   And l:1CM did you -- go ahead, please.                         23      truck out of the warehouse area?
        24 A.   Yeah.     Right before I handed it to my supervisor for        24 A.   Yes, yeah, the truck \IOuld be out in front of the
        25      him to go through his process.                                 25      office for the supervisor to observe.


                                                                   Page 11                                                                Page 13
         1 Q.   I see. And oow \IOuld you load it into the handheld?            1 Q.   And once that inspection off the checklist was done,
         2 A.   I would just mtch up item ntunbers with what was on             2      what did you do then?
         3      the handheld and with what was on my physical                   3 A.   Then once that was cbne, the handheld was all set,
         4      papenork or my inventory sheet. And then that's --              4      everything was -- supervisors checked off, then you
         5      nake sure everything agreed.                                    5      were ready to proceed, start your route.
         6 Q.   And you said you gave it to your rranager for his               6 Q.   Okay. b, is there sanething that was called
         7      process.     What was the wanager•s process that you            7      checking out the truck?
         8      irentioned?                                                     8 A.   I guess if that type of terminology was used, then
         9 A.   Specifically, I don't know as far -- it was basically           9      it I s nothing that I was familiar with.
        10      handed to him, and I think it was just kind of like a          10 Q.   Was there sorre kind of input into the hand.held that
        11      final checkoff like, yeah, he's ready to go.        'Ihat      11      signified that your tranager -- you and your ll'allager
        12      l!Ould be my best understanding.                               12      had agreed to the inventory that was on the truck that
        13 Q.   I see.     And then what did you do after handin;1 it off      13      day?
        14      and -- I guess, I assunva you got it back fran the             14 A.   Yes, t\lO receipts of the printout, and we \I.Ullld each
        15      nanager then?                                                  15      initial one copy of the receipt.
        16 A.   Uh-huh.                                                        16 Q.   Okay.   And was there scxrething that you pressed or did
        17 Q.   And then what would you do after that?                         17      on the hanaheld at that point?
        18 A.   If I had any special items, like coffee, anything              18 A.   No, he \IOuld go through his, and then the receipt --
        19      along those lines, go and retrieve those to put onto           19      his process.   '!hen he \IOUld -- then it 1.10uld print out
        20      the truck.                                                     20      on the printer, and then we \IOuld each initial, and he
        21 Q.   And when you retrieved, did you also ITake sane input          21      ~ d keep a copy, and then I \IOUld keep a copy
        22      into the handheld about the coffee items?                      22      throughout the day on my route.
        23 A.   Yes, yes.     That \IOuld be included, yeah.                   23 Q.   Okay.   How long would it typically take fran the titre
        24 Q.   So \I.Ullld you do that before you gave the handheld to        24      you swiped, you said your card, or put your card by
        25      the wanager or after?                                          25      the sheet in the norning until the titre you finished


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                                                                   Page 14                                                               Page 16
         1      your printing out the receipts with your wanager? How           1      they're taking, what quantity of product they're
         2      nuch titre w:>uld that typically take on any given day?         2      taking and deliver it to them.     The only difference is
         3 A.   I \O.ll.d say typically like 30 to 40 minutes.                  3      there's no enpty water jugs for toose.
         4 Q.   Okay.    Were there titres when it was significantly            4 Q.   I see.     And you rrentioned sooething about printirg out
         5      soorter or longer?                                              5      receipts in the handheld.     Were you printirg receipts
         6 A.   I w:>uldn' t say significantly soorter.     If there were       6      while you 'Nere naking stops on your routes?
         7      days that the inventory was incorrect or the truck was          7 A.   Yes.
         8      not preloaded altogether, then there were days that             8 Q.   Now, were you ever receiving any cash or checks fran
         9      was significantly longer.                                       9      custcxrers at your routes?
       10 Q.    HcM long could it be?                                          10 A.   Yes, there were scxre people that paid cash on
       11 A.    Anywhere to an hour, an hour and a half.                       11      delivery.
       12 Q.    Okay.    If you can, how long \\Otlld -- how often w:>uld      12 Q.   And, approximately, ru::M long did it typically take you
       13       you say -- you said, I believe, 30 to 40 minutes.        How   13      to do your route?
       14       often was it longer than 45 minutes in this noming             14 A.   With it being the downta,m. Detroit route, there were a
       15       process fran the tire you cane in tmtil the tirre you          15      lot of, I i,,ould say, detours.   So, oonestly, roost days
       16       print out the receipts?                                        16      it \\Otlld be difficult to finish rrrt route.   So I was
       17 A.    If I had to, I w:>uld say that \\Otlld happen a couple         17      out there fran -- basically all day and did as nuch as
       18       tirres a nmth.    I w:>uld say ti,,o to three tirres a         18      I could.
       19       nonth.                                                         19 Q.   By all day, could you give an approxination on hours
       20 Q.    Did you ever fuel the truck?                                   20      that it '«>Uld take?
       21 A.    No.                                                            21 A.   I l!KJUld stay out there tmtil !IOSt businesses closed,
       22 Q.    1hen once you print out the receipts, you said you             22      so about 5: 00 -- between 4: 30 and 5: oo is when I '«>Uld
       23       w:>uld -- '«>Uld you start out on driving the truck for        23      head back.
       24       the day?                                                       24 Q.   Going back to the very beginning of the day, what tirre
       25 A.    Yes.                                                           25      or tin-es did you typically arrive first at 1.1Drk in the


                                                                   Page 15                                                               Page 17
        1 Q.    Were you assigned a particular route?                           1      rroming?
        2 A.    MJst of Trrf titre was spent in the downta,m. Detroit           2 A.   I '«>Uld typically arrive between -- any tirres between
        3       area.                                                           3      6:45 and 7:30.
        4 Q.    Do you recall if that was given a route number?                 4 Q.   I see. And then you rrentioned typically it I.IOU!d be
         5 A.   If it was, I do not recall what it was.                         5      30 to 40 minutes before you got on the road after
         6 Q.   Okay.    And l:la.i nany stops were typically on your           6      that; is that rorrect?
         7      route?                                                          7 A.   Correct, yes.
         8 A.   On a given day, 30 to 40.                                       8 Q.   Okay.    '!hen what happened -- IlCM, you said you -- is
         9 Q.   And could you rtm -- briefly rtm thrru;h what you               9      it rorrect then that you said you typically did not
       10       \\Otlld do at each stop?                                       10      get to all of your stops on any given day?
        llA.    A nornal stop \\Otlld consist of looking at a haooheld         11 A.   ltlre tirres than not, yes, that is rorrect.
       12       or the papen.ork for the type of water and quantity            12 Q.   And what \IOUld happen if you didn't get to your stops
       13       that a particular custcxrer took, and then proceed to          13      on a particular day?
        14      go to the custcxrer, drop off, deliver their water and         14 A.   They w:>uld get rroved to the next day, and then I \\Otlld
        15      take their enpty bottles.                                      15      make a priority to get to them, yeah.
        16 Q.   And when you said -- was that for a residential                16 Q.   Did you find yourself in situations where you got
        17      custocrer?                                                     17      behind on waking stops where you couldn't - - there
        18 A.   'Iha.t \\Otlld be for residential and business custocrers.     18      were rrore -- do you tmderstand what I trean, that you
        19 Q.   Okay.    Did you -- about what percentage of your              19      couldn't quite catch up the next day or in a nuni>er of
        20      custcxrers that you can recall received coffee products        20      days? Did that occur?
        21      of socre kind?                                                 21 A.   Yes, yes.
        22 A.   I IIQlld say five percent.                                     22 Q.   And what l!KJUld happen in toose situations?
        23 Q.   Okay. And w:>uld the -- your activities at a stop with         23 A.   I rrean, it \I.Ullld just be a situation where you wuld
        24      roffee prooucts be any different?                              24      alrrost have to prioritize.    If there was special stops
        25 A.   No, it \\Otlld be the sarre process, check what product        25      or if there were call-ins, you 1.1DUld have to


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                                                                 David Sujkowski
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                                                                     Page 18                                                                      Page 20
         1      prioritize, I guess, on a level of inp::>rtance.        If you    1      for the day.       Then you would -- if they were
        2       got to know your custaners and you got to kind of get             2      available, you \!.\'.)Uld go to your supervisor and then
         3      a good feel, then you could say, okay, I think they're            3      discuss the route for the day and then preview the
        4       going to be gcxxi for a day or t\\10 until I can get to           4      next day's route.
         5      them.                                                             5 Q.   And after rreeting with your supervisor, what would you
        6 Q.    I see.     Did you ever have to do an extra route or an           6      do?
        7       extra set of deliveries to catch up?                              7 A.   If everything for the next day's route looked gcxxi, he
         8 A.   No.     Well, I did have to 110rk -- there were sare              8      would sha.il you your pay for the day, ha.ii nuch you
         9      Saturdays that we \\UUld 110rk as if we -- during a busy          9      earned in cannission, and then you 11,UUld -- he would
       10       titre, I \\UUld say.    There was a - - so then we would         10      print out an inventory sheet and a -- I guess a --
       11       110rk six days that week to help play catchup.                   11      like it's a lot (phonetic) sheet -- or a breakdown of
       12 Q.    Ha.o/ often did you \!.\'.)rk on Saturdays?                      12      your truck, and you would go through how you \«luld
       13 A.    During my titre there, I would say I 110rked five or six         13      like your truck loaded for the next day.
       14       Saturdays.                                                       14 Q.   Have you ever heard the tenn, load sheet?
       15 Q.    'l1le total titre, correct?                                      15 A.   Yes, load sheet, yeah.      That's what I was trying to
       16 A.    Yes.                                                             16      think Of I yeah.
       17 Q.    Okay.    Now, ooce you finished your route for the day,          17 Q.   And that was a dorurent you filled out to determine
       18       what steps did you take?                                         18      what w::iuld be loaded on your truck the following day;
       19 A.    You \\UUld go into the -- you would drive back.         You      19      is that correct?
       20       would get to the facility.       'Ihen you would go straight     20 A.   Yes, correct.
       21       to the warehouse.      And one of the warehouse \!.\'.)rkers     21 Q.   Okay.    Who were the -- your supervisor or supervisors
       22       would verify your inventory and get your el1l)ties off           22      that you tret with at the end of the day there?
       23       the truck.     And then you 'AOUl.d pull the truck around        23 A.   It was prinarily Tony.      He was prinarily the one that
       24       and park it and proceed to the office.                           24      would \«Irk in the afternoons when we got - - or
       25 Q.    Ha.o/ did the W:1.relwse \«lrker verify your inventory?          25      evenings when we got back.      And then every ncM and


                                                                     Page 19                                                          Page 21
        1 A.    He 110Uld -- you would open up all your ooors and walk            1      then, my other supervisor, it would have been Al or
        2       around the truck and check the inventory on it.                   2      Alex, but he was -- on a typical day, he would be my
        3 Q.    During this part of the verifying, did the warehouse              3      supervisor that 110Uld have checked tre out in the
        4       110rker do anything with the handheld device that you             4      rroming.
         5      had?                                                              5 Q.   Do you happen to retrerrber Tony or Alex's last nanes?
         6 A.   Yes, he would have to do it, what I would deem a                  6 A.   I do not rerrember their last nanes, Wlfortunately.
         7      check-in process, enter the inventory for each                    7 Q.   Okay.    And what did you do with your load sheet when
         8      particular product.      Then after he was oone with his          8      you were done with it?
         9      process, a receipt wou1d print out and he 11,UUld                 9 A.   You would either give it right to Supervisor Tony, or
       10       initial.                                                         10      you \«llll.d put it in the basket right at his desk.
        llQ.    And then after receiving that receipt that he                    11 Q.   Were you aW:1.re if the load sheets were ever scanned in
        12      initialed, what did you do next?                                 12      on a scanner at any point?
        13 A.   'Ihen you -- that's -- at that point, you 110uld get             13 A.   I believe they w:mld -- if I'm not mistaken, they
        14      back and then close up the truck, drive around and               14      w::iuld take it to the scanner, and they 110Uld scan it
        15      then park the truck and collect everything.                      15      back to the warehouse until they had the paperw::irk for
        16 Q.   'Ihen after that, what did you do?                               16      the next day.
        17 A.   'lben you wou1d proceed to the off ice and then you              17 Q.   And woo was they that would oo the scanning?
        18      would take your handheld, put that and any cash you              18 A.   SUpervisor Tony or woever.        That 1/.Ulll.d be my
        19      nay have acquired througoout the day and your                    19      supervisor, so Tony.
        20      receipts, and give it to who I believe was an                    20 Q.   I see.     Okay.    So I'm going to put up on the screen
        21      acoo.mting individual.                                           21      here a doc:unelt.      I'm going to share it on the screen.
        22 Q.   Okay.   And then did you do anything after that?                 22      Hopefully, you will be able to see it clearly enough,
        23 A.   'Ibey 110uld go through their process, collect all the           23      and let tre see if I can find it here.        I'll put it so
        24      receipts, cash, give you your handheld and printer,              24      it's nice and big and visible and -- all right.             I'm
        25      say you're all set, put your handheld away to charge             25      putting on the screen a doclurent.       Can you see


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                                                                  David Sujkowski
                                                                    July 06, 2023                                                        22 to 25
                                                                        Page 22                                                                 Page 24
         1      sooet:hi.IY:J on the docunent, Mr. Suj~? I nean on                    1      next to it.     Would that rean that you were only taking
         2      the screen there?                                                    2       that particular type of product for that following
         3 A.   Yes.                                                                  3      day?
         4 Q.   It says -- on top, it says page 1. Across the top, it                 4 A.   For that particular trucklood, yes.       You only have
         5      says daily truck lood sheet, water, route oo.,,nta.,in,               5      that one product going on the truck.
         6      11047. Unfortunately, I do not have a Bates number on                 6 Q.   And for the list of the products there, you can review
         7      this document.      Have you seen this document before,               7      them, could you say if - - which ones were or were not
         8      Mr. Sujkowski?                                                        8      typical for you to take?
         9 A.   Yes.                                                                  9 A.   I'm sorry.     For the?
        10 Q.   Okay.    And what is it?                                             10 Q.   List of documents.        I believe sooe of them say DIS 3
        llA.    '!bat is just a load sheet.        It's standard, just giving        11      gallon, and its product nurcber is 600, 400, DIS 5
        12      you hcw truch of a certain quantity of a product you                 12      gallon.    Do you see the list of products about the
        13      wanted on your tuck and where you wanted it located on               13      middle of the page on the left?
        14      your truck.                                                          14 A.   Yes.
        15 Q.   I'm goir¥J to scroll da,rm a little bit.         Is this little      15 Q.   Which of these products can you say were typical or
        16      graphic on the bottan here, the left side, it says,                  16      not typical for you to take on any given day?
        17      front, is that a graphic showing where on the truck it               17 A.   All of them --
        18      11.0Ul.d be?                                                         18                    MR. FRISCll:   Objection, vague, but you can
        19 A.   Yes.                                                                 19      answer.
        20 Q.   And -- okay.     And so there's a date an it that says               20 A.   All of them were standard products, and I do recognize
        21      3/3/2022. What 11.0Ul.d that date signify?                           21      all of them, and I 11.0Ul.d typically deliver them, yes.
        22 A.   'Ihat date should signify the next day's route, if I'm               22 BY MR. aJ.lMOOS:
        23      not mistaken.                                                        23 Q.   Okay.     All right.     I will stop sharing the screen at
        24 Q.   Okay.                                                                24      the nment.      And, Mr. Sujkowski, how was your pay
        25 A.   1he day of the route, yeah.                                          25      determined or calculated that you received from


                                                                        Page 23                                                                 Page 25
         1                     MR. CU-i•Ums:     And so I •m going to                 1      Absopure?
         2      designate this as Exhibit 1, and I will forward it                    2 A.   We received a daily rate, and if our ccmnissions
         3      aroWld right after the deposition.         So, first, we just         3      exceeded that daily rate, then we \\O\lld earn rooney on
         4      got aoold of this doculrent, and we will forward it.                  4      carmission.
         5      We will Bates mmter it and send it aroWld, oopefully,                 5 Q.   And do you kncM hew the ccmnission was calculated?
         6      if not by the end of the day, first t:hi.IY:J tarom:M.           I    6 A.   It was based on a percentage of hcw truch product we
         7      have a couple n-ore of these.        I will --                        7      delivered.
         8                     MR. FRISCH:     Note our continuir¥J objection         8 Q.   I'm going to put another docuirent on the screen for
         9      to the use of documents that were not produced                        9      you soortly, and give ne a minute.        I will try to find
        10      previously in discovery.         Discovery has closed, and I         10      a relatively clear exanple of one.        I am putting on
        11      don• t think this is proper.        We' re being sandbagged          11      the screen a page of a document. 1he wtx>le document
        12      with documents.      'lllis is kind of like a l1'CJVing target       12      in particular bears Bates nunters 5044 through 5095.
        13      in this woole case, and we object to the use of these                13      'lllis particular page, I will scroll dam.       It has the
        14      undisclosed documents both in the deposition and at                  14      Bates lll.llNler 5067.    And, Mr. Sujkowski, can you see
        15      any point beyond in this case.                                       15      this document?
        16                     MR. ~ = Understood.                                   16 A.   Yes, I can.
        17BYMR. ~ :                                                                  17 Q.   Can you recognize the docurrent?
        18 Q.   I'm puttir¥J another docurrent in front of you, Mr.                  18 A.   I 110Uld say that, yes, I do recognize it, yes.
        19      Sujkowski.      I' 11 m1ke it srraller so you can see n-ost          19 Q.   Is there a naire that you have referred to this
        20      of it.     Is this also a load sheet, the type you were              20      docunent by?
        21      talkin:J about?                                                      21 A.   Not:hi.IY:J that I can recall, no.
        22 A.   Yes.                                                                 22 Q.   And what is the docunent soowing?
        23 Q.   Okay.    And now just looking -- there's a list of                   23 A.   I 110Uld -- it appears to be shcMing total coomission
        24      different products there.         And for this particular            24      earned, total pay earned, for the week of 8/2 to
        25      case, it looks like you have only one with a number                  25      8/6/2021.


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                                    David Sujkowski
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                                                                          Page 1
     1                     UNITED STATES DISTRICT COURT

     2                     EASTERN DISTRICT OF MICHIGAN

     3                           SOUTHERN DIVISION

     4

     5 JUSTIN GUY, individually and on

     6 behalf of those similarly situated,

     7                     Plaintiff,

     8              VS.                  Case No. 20-cv-12734-MAG-EAS

     9                                   HON. MARK A. GOLDSMITH

    10 ABSOPURE WATER COMPANY, LLC

    11 a domestic limited liability company,

    12                     Defendant.

    13

    14

    15

    16       The Deposition of DAVID SUJKOWSKI,

    17       Taken in Carleton, Michigan,

    18       Commencing at 4:05 p.m.,

    19       Thursday, July 6, 2023,

    20       Before Laurie R. Mayer, CSR-5385.

    21

    22

    23

    24

    25


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                                                                July 06, 2023                                                     2 to 5
                                                                 Page 2                                                             Page 4
         1 REMOTE APPEARIINCES:
                                                                           1 carleton, Michigan
                                                                           2 Thursday, July 6, 2023
         3 ANDREW R. FRISCH
                                                                           3 4:05 p.m.
         4 8151 Petero Road, Suite 4000
                                                                           4
         5 Plantation, Florida 33324
                                                                           5                          DAVID SWI«MSKI,
         6 (9541 WORKERS
                                                                           6      was thereupon called as a witness herein, and after
         7 afrischlforthepeople.com
                                                                           7      having first been duly sworn to testify to the truth,
         9      Appearing on behalf of the Plaintiff.
                                                                           8      the woole truth and nothing but the truth, was
                                                                           9      examined and testified as follows:
        10 MICHAEL 0. CUMMINGS
                                                                          10                              EXAMINATION
        11 CUmmings. McClorey, Davis & Acho, P.L.C.
                                                                          llBYMR. ~ :
        12 1195 Avene of The Americas, Third Floor
                                                                          12 Q.   Mr. SUjk£11Jski, \lnlld you please state your fall narre
        13 (212) 547-9810
                                                                          13      for the record?
        14 mcummingsctcmda-law.com
                                                                          14 A.   David Andrew SUjk£11Jski.
        15 N.Y. Bar No. 2701506
                                                                          15 Q.   And what is your current ackiress?
        16      Appearing on behalf of the Defendant.
                                                                          16 A.   2705 Dunlop, D-u-n-1-o-p, Street, Trenton, Michigan
        17
                                                                          17      48183.
        19
                                                                          18 Q.   Thank you.   Have you ever had your deposition taken
        19
                                                                          19      before?
        20
                                                                          20 A.   I have not, no.
        21
                                                                          21 Q.   I will go over sane of the ground rules and scxre of
        22
                                                                          22      the things that will happen so you will have an
        23
                                                                          23      understanding. 1he first thing is, do you understand
        24
                                                                          24      that you are under oath and that potentially if you
        25
                                                                          25      said anything knowingly false, you might be subject to


                                                                 Page 3                                                             Page 5
                                      TABLE OF CONTENTS
                                                                           1      penalties for perjury?
                                                                           2 A.   Yes.
         3 WITNESS                                        PAGE             3 Q.   And as you just did, please continue to answer
         4 DAVID SUJKOWSKI                                                 4      questions affirmatively, yes or no verbally, rather
                                                                           5      than nodding your head.     That will help us
         6 EXAMINATION                                                            tretrendously.
                                                                           6
         7 BY MR. CUMMINGS:
                                                                           7 A.   Understood.
         B EXAMINATION                                                     8 Q.   And, also, please try to listen to my full question.
         9 BY MR. FRISCH:                                  42              9      Sanetirres the question and the answer will seem
        10 RB-EXAMINATION                                                 10      obvious to you when I •m halfway through, but I would
        11 BY MR. CUMMINGS:                                43             11      still please ask you to wait until I finish my
        12                                                                12      question, so for the court reporter both to get it
        13                                EXHIBITS                        13      dcMil clearly in the transcript and to also give your
        14
                                                                          14      attorney any chance to object. Do you understand
        15 EXHIBIT                                        PAGE            15      that?
        16 (Exhibito retained by counsel. I                               16 A.   Yes.
        17                                                                17 Q.   And, also, I would like you not to guess for air-J
        18 EXHIBIT 1                                                      18      answers that -- or any questions that I ask. It \rDll.d
        19 EXHIBIT 2                                                      19      be fine if you can give an approxination, say
        20 EXHIBIT 3                                                      20      approxittately when or hcM long or sanething, but not
        :U EXHIBIT 4                                                      21      guess. Do you understand that?
        22 EXHIBIT 5                                                      22 A.   Yes.
        23                                                                23 Q.   And I •m going to ask, would you please, if you do not
        24                                                                24      understand my question either because of audio issues
        25                                                                25      or you don't understand it, please let knew, okay?


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                                                            David Sujkowski
                                                             July 06, 2023                                                         6 to 9
                                                                  Page 6                                                               Page 8
         1 A.   Understcxxi.                                                1      can -- typically?
         2 Q.   Na.ii, is there anything going an with you today?           2 A.   Five-gallon water jugs, cases of water. And then
         3      Saretimes medication or other drugs or other issues         3      after -- arrt coolers, if you retrieved those, as well,
         4      that might prevent you fran tmderstanding my questions      4      if you had coolers for the day, as well.
         5      and ans,,,ering them fully?                                 5 Q.   And how did the coolers get on the truck?
         6 A.   No.                                                         6 A.   I 'AOU!d put them on there. I ~ d find the coolers
         7 Q.   NcM, you are here today because you were once en-ployed     7      that were a part of my route after I checked my
         8      at Absopure water Carpany; is that oorrect?                 8      inventory. Then I ~ld go find my coolers, then
         9 A.   Yes.                                                        9      place them an the truck.
        10 Q.   Ib you recall the dates that you were there?               10 Q.   Did you ever put any -- and the coolers were to be --
        llA.    February of 2021 to March of 2022.                         11      was it correct that these coolers were to be placed in
        12 Q.   What was your position or positions when you were          12      custaner locations?
        13      there?                                                     13 A.   Yes.
        14 A.   My job title was listed as sales and service               14 Q.   Did you ever have arrt other equipment that you placed
        15      specialist.                                                15      in custaner locations?
        16 Q.   And for what reason did you leave in March of 2022?        16 A.   There 'AOU!d be special items like coffee or any sort
        17 A.   I found another job opportunity.                           17      of coffee accessories that were picked up before you
        18 Q.   Are you currently enployed?                                18      1!.Ullld leave the facility.
        19 A.   Yes.                                                       19 Q.   Did you ever pick up a coffee maker or anything like
        20 Q.   What is your current position and errployer?               20      that?
        21 A.   I am a senior accountant with Imlach M:>vers in            21 A.   Yes, periodically, there 1!.Ullld be a coffee mlker or
        22      Trenton.                                                   22      say a cup sleeve for a water cooler that sareane
        23 Q.   And for the first part here, I'm going to ask sare         23      requested and specialty items like that that 1!.UUld
        24      questions about your job duties when you were with         24      care along every 11CM and then.
        25      Absopure. And I ~ld like to step you throogh --            25 Q.   And was there a typical arrount of coolers that you


                                                               Page 7                                                                   Page 9
         1      just so you understand, I will step you throogh your        1      \Olld take with you an any given day?
         2      day. Did you ~rk at the Plym::,uth facility?                2 A.   It ~ d range quite a bit.        I ~ld say on a typical
         3 A.   Yes.                                                        3      day, you were looking at, let I s say three to four.
         4 Q.   And what was the very first thing you did when you          4 Q.   was there a maxi!Tllm number that you took with you?
         5      arrived at ~k each day?                                     5 A.   I believe I - - about 30 of them.
         6 A.   I held my bad3e up to their time clock, or I guess let      6 Q.   Okay. H<M often, to the best you can recall, ~ d
         7      them kncM that I was there for the day.                     7      you take say irore than 10 -- or 10 or irore?
         8 Q.   Did you do that every day?                                  8 A.   I 1!.Ullld say - - let I s say 5, 5 to 10 titres, I did that.
         9 A.   Yes.                                                        9 Q.   And that ~ld be during the entire time that you
        10 Q.   And what did you do next?                                  10      ~rked?
        11 A.   I \Olld go to my mailbox and retrieve my papen.ork.        llA.    During my duration there, yes.
        12 Q.   And what was the papen«>rk that you retrieved?             12 Q.   Okay. And after you obtained the coolers or whatever
        13 A.   It cxmsisted of special deliveries, my route, all of       13      other equipnent and checked or -- and looked at the
        14      my stops for that day and any other ad:litional notes      14      inventory on your truck, what did you do next?
        15      that needed to be passed along.                            15 A.   You would -- if the inventory was correct, then you
        16 Q.   I apologize. I forgot that I had not put my video an.      16      \rotll.d pull your truck around and load everything into
        17      So 11CM you can see ire.   And what did you do after       17      the handheld for your supervisor to check off an.
        18      retrieving your papen.ork?                                 18 Q.   And what was the handheld that you just mentioned?
        19 A.   I went through it, made any notes that I needed --         19 A.   Well, a handheld device that preloaded our inventory
        20      that I wanted to personally, for the day.                  20      and our routes for the day, to check off that each
        21 Q.   And then what did you do next?                             21      delivery, each stop was carpleted. And then once it
        22 A.   I took my papen«>rk and went out to my truck to do an      22      was canpleted, it printed out a receipt to hand to the
        23      inventory of what was on there to verify everything        23      custarer.
        24      was correct.                                               24 Q.   And what do you irean by preloaded?      was that -- was
        25 Q.   And what kind of products were on the truck -- and you     25      sare information in the handheld when you first g::>t it


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                                                                 David Sujkowski
                                                                   July 06, 2023                                                    10 to 13
                                                                     Page 10                                                               Page 12
         1      in the m:>ming?                                                   1 A.   Yes, I guess that -- yeah, you \<.QUld go verify that
         2 A.   Our route was for the day.       Once our supervisor              2      they had the inventory of coffee on hand, and you
         3      checked off, it was preloaded on there.          So all of our    3      would enter that on to your inventory sheet and then
         4      stops ex>incided with what was on our papen.tlrk.                 4      proceed to go to the rranager for the final checkoff.
         5 Q.   And did, at sare point in the m:>ming, did you pick up            5 Q.   And, again, after you -- the final checkoff with the
         6      the handheld or get it?                                           6      rranager, what did you do then?
         7 A.   Yes.    Typically, I "-OUl.d -- that 1.1.00ld be one of the       7 A.   Then they \<.Quld have us just kind of do a walkthrough
         8      first things I would do.       You "-OUl.d get your handheld,     8      with the truck, rrake sure the truck was in good
         9      yes.                                                              9      operating conditions, and I guess that 1.1.00ld coincide
        10 Q.   Was that before or after you got your papen.tlrk, for            10      with the final checkoff.     They \t,OOld cb a walkthrough
        11      exanple?                                                         11      with the truck, rrake sure it was in good conditicns.
        12 A.   It \rO\ll.d be right at the saire tirre.                         12      And we w:mld go through this little checklist, I
        13 Q.   And you said you 1.1.00ld -- you said sarething alx>ut --        13      guess, of rraking sure everything on the truck was
        14      I don't want to -- if I understand correctly, about              14      okay, and if there were any issues to note them.
        15      putting the inventory into the handheld when you got             15 Q.   Did you have a naire for the checklist that you went
        16      to your truck.      What "-OUl.d that be?                        16      through or a term you used for it?
        17 A.   Yeah.     Hail I typically did it was, I 1.1.00!d put the        17 A.   Not specifically, not that I can recall.
        18      inventory into the handheld once I got back to the               18 Q.   Did you go through that checklist with the manager?
        19      office.     I verified everything on my papen.tlrk as far        19 A.   Yes, there were -- yeah, on a typical day, we would go
        20      as inventory being caiplete, and then I would load it            20      through the checklist, and they 1.1.00!d rrake sure that
        21      into the handheld at the office right before handing             21      everything was good to go.
        22      it to my supervisor.                                             22 Q.   And you did that -- was this after you drove your
        23 Q.   And 11CM did you -- go ahead, please.                            23      truck out of the warehouse area?
        24 A.   Yeah.     Right before I handed it to my supervisor for          24 A.   Yes, yeah, the truck 1.1.00!d be out in front of the
        25      him to go through his process.                                   25      office for the supervisor to observe.


                                                                     Page 11                                                              Page 13
         1 Q.   I see. And :OOW 1.1.00!d you load it into the handheld?           1 Q.   And once that inspection off the checklist was dme,
         2 A.   I would just rratch up item numbers with what was on              2      what did you do then?
         3      the handheld and with what was on my physical                     3 A.   Then once that was done, the handheld was all set,
         4      papen.ork or my inventory sheet. And then that s - -   I
                                                                                  4      everything was -- supervisors checked off, then you
         5      tlBke sure everything agreed.                                     5      were ready to proceed, start your route.
         6 Q.   And you said you gave it to your nanager for his                  6 Q.   Okay. New, is there sarething that was called
         7      process.      What was the manager I s process that you           7      checking out the truck?
         8      rrentioned?                                                       8 A.   I guess if that type of terminology was used, then
         9 A.   Specifically, I don't kncM as far -- it was basically             9      it I s nothing that I was familiar with.
        10      handed to him, and I think it was just kind of like a            10 Q.   Was there soo-e kind of input into the handheld that
        11      final checkoff like, yeah, he's ready to go.         '!bat       11      signified that your manager -- you and your manager
        12      \rO\ll.d be my best understanding.                               12      had agreed to the inventory that was on the truck that
        13 Q.   I see. And then what did you do after handing it off             13      day?
        14      and -- I guess, I assurre you got it back frcxn the              14 A.   Yes, t~ receipts of the printout, and 11.e \t,OOld each
        15      manager then?                                                    15      initial one copy of the receipt.
        16 A.   Uh-huh.                                                          16 Q.   Okay.   And was there sarething that you pressed or did
        17 Q.   And then what w::nud you do after that?                          17      on the handheld at that point?
        18 A.   If I had any special items, like coffee, anything                18 A.   No, he ~ d go through his, and then the receipt --
        19      along those lines, go and retrieve those to put onto             19      his process.   Then he \\OOJ.d -- then it 11.00ld print out
        20      the truck.                                                       20      on the printer, and then 11.e \rO\ll.d each initial, and he
        21 Q.   And when you retrieved, did you also tlBke sare input            21      l!Ollld keep a copy, and then I 1.1.00!d keep a copy
        22      into the handheld about the coffee items?                        22      throughout the day on Irr/ route.
        23 A.   Yes, yes.      '!hat w::nud be included, yeah.                   23 Q.   Okay.   Hail long l!Ollld it typically take frcxn the tire
        24 Q.   So \t,OOld you do that before you gave the handheld to           24      you swiped, you said your card, or put your card by
        25      the rranager or after?                                           25      the sheet in the noming until the tirre you finished


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                                                              David Sujkowski
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                                                                  Page 14                                                                    Page 16
         1      your printing out the receipts with your rranager? How          1        they're taking, what quantity of product they're
         2      nuch tirre w::ruld that typical!y take on any given day?       2         taking and deliver it to them.        'Ihe only difference is
         3 A.   I w::ruld say typically like 30 to 40 minutes.                  3        there I s no errpty water jugs for those.
         4 Q.   Okay.    Were there tines when it was significantly             4 Q.     I see. And you rrentioned sarething about printing out
         5      shorter or longer?                                              5        receipts in the handheld.      Were you printing receipts
         6 A.   I 1/0lldn' t say significantly shorter.    If there were        6        while you were naking stops on your routes?
         7      days that the inventory was incorrect or the truck was          7 A.     Yes.
         8      not preloaded altogether, then there were days that             8   o.   Now, were you ever receiving any cash or checks frcxn
         9      was significantly longer.                                       9        custooers at your routes?
        10 Q.   How long could it be?                                          10 A.     Yes, there were sare people that paid cash on
        llA.    Anywhere to an hour, an hour and a half.                       11        delivery.
        12 Q.   Okay.    If you can, how long w:mld -- oow often \O.lld        12 Q.     And, approximately, how long did it typically take you
        13      you say -- you said, I believe, 30 to 40 minutes.        HCM   13        to do your route?
        14      often was it looger than 45 minutes in this rorning            14 A.     With it being the da.mtown Detroit route, there were a
        15      process fron the tirre you carre in until the tirre you        15        lot of , I w::ruld say, detours.     So, honestly, ll'OSt days
        16      print out the receipts?                                        16        it l.!Ollld be difficult to finish my route.      So I was
        17 A.   If I had to, I w:>uld say that w:mld happen a couple           17        out there fron -- basically all day and did as nuch as
        18      tines a nmth.     I 1/0lld say ti.«> to three tin-es a         18        I could.
        19      nmth.                                                          19 Q.     By all day, could you give an approximation on boors
        20 Q.   Did you ever fuel the truck?                                   20        that it w:mld take?
        21 A.   No.                                                            21 A.     I \O.lld stay out there until 1IDSt businesses closed,
        22 Q.   1hen ooce you print out the receipts, you said you             22        so about 5:00 -- between 4:30 and 5:00 is when I l.!Ollld
        23      w::ruld -- w::ruld you start out on driving the truck for      23        head back.
        24      the day?                                                       24 Q.     Going back to the very begiruring of the day, what tirre
        25 A.   Yes.                                                           25        or tines did you typically arrive first at i.«>rk in the


                                                                   Page 15                                                                   Page 17
         1 Q.   Were you assigned a particular route?                           1        norning?
         2 A.   r-bst of my tirre was spent in the dc,.tintown Detroit          2 A.     I w:JUld typically arrive between -- any tin-es between
         3      area.                                                           3        6:45 and 7:30.
         4 Q.   Do you recall if that was given a route number?                 4 Q.     I see.     And then you rrentioned typically it l.!O\lld be
         5 A.   If it was, I do not recall what it was.                         5        30 to 40 minutes before you got on the road after
         6 Q.   Okay.    And hcM many stops were typically on your              6        that; is that correct?
         7      route?                                                          7 A.     Correct, yes.
         8 A.   Ckl a given day, 30 to 40.                                      a Q.     Okay.    1hen what happened -- nc:M, you said you -- is
         9 Q.   And could you run -- briefly run through what you               9        it correct then that you said you typically did not
        10      l.!Olll.d do at each stop?                                     10        get to all of your stops on any given day?
        llA.    A normal stop l.!Olll.d consist of looking at a handheld       llA.      More tin-es than not, yes, that is correct.
        12      or the papen.ork for the type of water and quantity            12 Q.     And what w:JUld happen if you didn't get to your stops
        13      that a particular custorrer took, and then proceed to          13        on a particular day?
        14      go to the custorrer, drop off, deliver their water and         14 A.     They 1.!0Uld get rrcved to the next day, and then I ltWld
        15      take their errpty bottles.                                     15        trake a priority to get to them, yeah.
        16 Q.   And when you said -- was that for a residential                16 Q.     Did you find yourself in situations where you got
        17      custorrer?                                                     17        behind on waking stops where you couldn't - - there
        18 A.   'lbat l.!Olll.d be for residential and business custorrers.    18        were trere -- do you understand what I rrean, that you
        19 Q.   Okay.    Did you -- about what percentage of your              19        couldn't quite catch up the next day or in a number of
        20      custorrers that you can recall received coffee products        20        days? Did that occur?
        21      of sare kind?                                                  21 A.     Yes, yes.
        22 A.   I \Olld say five percent.                                      22 Q.     And what 110Uld happen in those situations?
        23 Q.   Okay. And WJUJ.d the -- your activities at a stop with         23 A.     I rrean, it WJU.l.d just be a situation where you l«lllld
        24      coffee products be any different?                              24        alrrost have to prioritize.        If there was special stops
        25 A.   No, it w:mld be the sane process, check what product           25        or if there were call-ins, you 1«>Uld have to


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                                                                   Page 18                                                                   Page 20
         1      prioritize, I guess, on a level of irrportance.         If you    1      for the day.    '!hen you 1/.00ld -- if they were
         2      got to know your custaners and you g;,t to kind of get            2      available, you 1/.00ld go to your supervisor and then
         3      a good feel, then you could say, okay, I think they're            3      discuss the route for the day and then preview the
         4      g;,i.IY;J to be gJOd for a day or t\l.U until I can get to        4      next day's route.
         5      them.                                                             5 Q.   And after rreeting with your supervisor, what 'NOUl.d you
         6 Q.   I see. Did you ever have to do an extra route or an               6      do?
         7      extra set of deliveries to catch up?                              7 A.   If everything for the next day's route looked g::>od, he
         8 A.   No.     Well, I did have to \I.Urk -- there were saie             8      \!OUld slnl you your pay for the day, lXM nuch you
         9      Saturdays that we \!OUld \I.Urk as if we -- during a busy         9      earned in ccmnission, and then you 1/.00ld -- he would
        10      tirre, I 'NOUl.d say. There was a -- so then we \I.Ollld         10      print out an inventory sheet and a -- I guess a --
        11      \I.Urk six days that week to help play catchup.                  11      like it's a lot (phonetic) sheet -- or a breakd::Y.ffl of
        12 Q.   Hc:r.rJ often did you \I.Urk oo Saturdays?                       12      your truck, and you 'NOUl.d go through lXM you 'NOUl.d
        13 A.   During my tirre there, I \!OUld say I \\OI'ked five or six       13      like your truck loaded for the next day.
        14      Saturdays.                                                       14 Q.   Have you ever heard the term, load sheet?
        15 Q.   The total tirre, correct?                                        15 A.   Yes, load sheet, yeah. That• s what I was tryi.rg to
        16 A.   ~-                                                               ll      think of, yeah.
        17 Q.   Okay. Now, cnce you finished your route for the day,             17 Q.   And that was a docu!lent you filled out to detennine
        18      what steps did you take?                                         18      what w::>uld be loaded on your truck the following day;
        19 A.   You \!OUld go into the -- you w:>uld drive back.      You        19      is that correct?
        20      1/.0llld get to the facility.   Then you i,,oold go straight     20 A.   Yes, correct.
        21      to the warehouse. And one of the warehouse w::>rkers             21 Q.   Okay. Who were the -- your supervisor or supervisors
        22      1/.0llld verify your inventory and get your elll)ties off        22      that you net with at the end of the day there?
        23      the truck. And then you 1/.00ld pull the truck around            23 A.   It was prinBI"ily Tony. He was prinBI"ily the one that
        24      and park it and proceed to the office.                           24      1/.0llld 1«>rk in the af temoons when we got - - or
        25 Q.   How did the warehouse 1«>rker verify your inventory?             25      eveni.rgs when we got back. And then every ncM and


                                                                 Page 19                                                                     Page 21
         1 A.   He i,,oold -- you 1/.00ld open up all your doors and walk         1      then, my other supervisor, it 1/.0llld have been Al or
         2      around the truck and check the inventory on it.                   2      Alex, but he was -- on a typical day, he w::>Uld be my
         3 Q.   During this part of the verifying, did the warehouse              3      supervisor that w:>uld have checked re out in the
         4      w::>rker do anythi.rg with the handheld device that you           4      rorni.rg.
         5      had?                                                              5 Q.   Do you happen to rerrerrber Tony or Alex's last nares?
         6 A.   Yes, he would have to do it, what I w:rul.d deem a                6 A.   I do not rensrter their last nares, unfortunately.
         7      check-in process, enter the inventory for each                    7 Q.   Okay. And what did you do with your load sheet when
         8      particular prcx:luct. Then after he was oone with his             B      you were done with it?
         9      process, a receipt i,,oold print out and he i,,oold               9 A.   You w::>Uld either give it right to Supervisor Tony, or
        10      initial.                                                         10      you w:rul.d put it in the basket right at his desk.
        llQ.    And then after receiving that receipt that he                    llQ.    Were you aware if the load sheets were ever scanned in
        12      initialed, what did you do next?                                 12      on a scanner at any point?
        13 A.   '!hen you -- that's -- at that point, you \I.Ollld get           13 A.   I believe they w::>uld -- if I •m not mistaken, they
        14      back and then close up the truck, drive around and               14      11.00ld take it to the scanner, and they i,,oold scan it
        15      then park the truck and collect everything.                      15      back to the warehouse until they had the paperw::>rk for
        16 Q.   Then after that, what did you do?                                16      the next day.
        17 A.   Then you 1/.0llld proceed to the office and then you             17 Q.   And wb::> was they that would oo the scanning?
        18      1/.00ld take your handheld, put that and any cash you            18 A.   Supervisor Tony or whoever. That \IO\lld be my
        19      nay have acquired throughout the day and your                    19      supervisor, so Tony.
        20      receipts, and give it to wb::> I believe was an                  20 Q.   I see. Okay. So I'm going to put up on the screen
        21      accounting individual.                                           21      here a docu!lent.   I'm going to share it on the screen.
        22 Q.   Okay. And then did you do anything after that?                   22      Hopefully, you will be able to see it clearly enough,
        23 A.   They 1/.0llld go through their process, collect all the          23      and let re see if I can find it here.       I 1 11 put it so
        24      receipts, cash, give you your handheld and printer,              24      it's nice and big and visible and -- all right.        I'm
        25      say you• re all set, put your handheld away to charge            25      putti.rg on the screen a docunent.     can you see


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                                                                      Page 22                                                                   Page 24
         1      sarething on the document, Mr. SUj~ki? I wean an                   1       next to it. Would that wean that you 'lrlere only taking
        2       the screen there?                                                 2        that particular type of product for that folloong
        3 A.    Yes.                                                              3        day?
        4 Q.    It says -- on top, it says page 1. Across the top, it              4 A.    For that particular truckload, yes.         You only have
         5      says daily truck load sheet, water, route downtown,                5       that one product going on the truck.
         6      11047.   Unfortunately, I oo not have a Bates number on            6 Q.   And for the list of the products there, you can review
         7      this docunent. Have you seen this ckx:ulrent before,               7       them, could you say if -- which ones were or were not
         8      Mr. SUjkowki?                                                      8       typical for you to taJce?
         9 A.   Yes.                                                               9 A.    I'm sorry.       For the?
        10 Q.   Okay. And what is it?                                             10 Q.    List of docu!rents.         I believe sare of them say DIS 3
        11 A.   That is just a load sheet.       It's standard, just giving       11       gallon, and its product IU.lIIDer is 600, 400, DIS 5
        12      you h£M much of a certain quantity of a product you               12       gallon.    Do you see the list of products about the
        13      wanted on your tuck and where you wanted it located on            13       middle of the page on the left?
        14      your truck.                                                       14 A.    Yes.
        15 Q.   I'm goirY:J to scroll ckM1 a little bit.         Is this little   15 Q.    Which of these prcxiucts can you say were typical or
        16      graphic on the bottan here, the left side, it says,               16       not typical for you to take on any given day?
        17      front, is that a graphic showing where on the truck it            17 A.    All of them --
        18      \\Wl.d be?                                                        18                       MR. FRISCll: Objection, vague, but you can
        19 A.   Yes.                                                              19       answer.
        20 Q.   And -- okay.    And so there's a date on it that says             20 A.    All of them were standard products, and I oo recognize
        21      3/3/2022. What WJUld that date signify?                           21       all of them, and I l!Ol.lld typically deliver them, yes.
        22 A.   That date should signify the next day's route, if I'm             22 BY MR. aJ,ll,IDl3S:
        23      not mistaken.                                                     23 Q.    Okay.     All right.    I will stop sharing the screen at
        24 Q.   Okay.                                                             24       the m::ment.      And, Mr. SUjka.ilski, l'lcM was your pay
        25 A.   'l1le day of the route, yeah.                                     25       determined or calculated that you received fran


                                                                      Page 23                                                                    Page 25
         1                    MR. aH1INGS:     And so I'm going to                 1       Absopure?
         2      designate this as Exhibit 1, and I will forward it                 2 A.    We received a daily rate, and if our cannissions
         3      around right after the deposition.        So, first, we just       3       exceeded that daily rate, then we WJUld earn m:mey on
         4      got aoold of this document, and we will foi:ward it.               4       carmission.
         5      We will Bates nunt>er it and send it around, oopefully,            5 Q.    And do you kooN 00!1 the cannission was calculated?
         6      if not by the end of the day, first thing tcxrorro.,,.        I    6 A.    It was based on a percentage of h""1 l!Ulch product we
         7      have a couple nore of these.        I will - -                     7       delivered.
         8                    MR. FRISCR:     Note our continuing objection        8 Q.    I• m going to put another document on the screen for
         9      to the use of ckx:ulrents that were not produced                   9       you soortly, and give rre a minute.         I will try to find
        10      previously in discovery.        Discovery has closed, and I       10       a relatively clear exairple of one. I am putting on
        11      don't think this is proper. We' re being sandbagged               11       the screen a page of a documant. The whole docUirent
        12      with documants.     This is kind of like a ITOVi.ng target        12       in particular bears Bates nurrbers 5044 through 5095.
        13      in this whole case, and 11.-e object to the use of these          13       '!his particular page, I will scroll ckMl.         It has the
        14      undisclosed cb::urrents both in the deposition and at             14       Bates mmter 5067.           And, Mr. SUj~ki, can you see
        15      any point beyond in this case.                                    15       this document?
        16                    MR. CU!MIOOS:     Understood.                       16 A.    Yes, I can.
        17 BY MR. OJ.!MOOS:                                                       17 Q.    Can you recognize the docuirent?
        18 Q.   I'm putting another docunent in front of you, Mr.                 18 A.    I \l.01.lld say that, yes, I do recognize it, yes.
        19      SUjkowki.      I'll make it snaller so you can see rrost          19 Q.    Is there a narre that you have referred to this
        20      of it.   Is this also a load sheet, the type you were             20       docurrent by?
        21      talking about?                                                    21 A.    Nothing that I can recall, no.
        22 A.   Yes.                                                              22 Q.    And what is the docurrent soowing?
        23 Q.   Okay. And IlCM just looking -- there's a list of                  23 A.    I \l.01.lld -- it appears to be showing total carmission
        24      different products there.        And for this particular          24       earned, total pay earned, for the week of 8/2 to
        25      case, it looks like you have only one with a number               25       8/6/2021.


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                                                                 Page 26                                                                   Page 28
         1 Q.   Okay. And I don't kna.it if you can see it.     It's a      1       be the sum total of the sales at 8 percent and sales
        2       little bit dark.   The colunn -- can you see the colunn     2       at 16 percent?
         3      heading in the gray? I think it's naire is the first         3                     MR. FRISCH:    Objection, vague.
        4       colurm on the left and date, and then sales,                4                      MR. a»tINGS:     I'm sorry.     I'm not sure
         5      parentheses, 8 percent.      can you see those colurm        5      that that was clear.
         6      headings an your version?                                    6                     MR. FRISCli:   I said -- my objection was
         7 A.   Yes, I can.                                                  7      vague.
         8 Q.   And the third colunn fron the left, it says 8 -- sales       8                     MR. ~ :          Okay.    It just broke up.
         9      in parentheses, 8 percent. What does that refer to,          9BYMR. ~ :
        10      or wat does that trean that• s in the colunn?               10 Q.   NcM, I want to go to -- let's see.           '1he total, it
        llA.    '1he arrount of sales wade fron the product I delivered.    11      says, total prod OJM colurm. What is your
        12 Q.   So that \Olld be -- \Olld that be the total sale            12      understanding of that colunn?
        13      prices of the prcxiucts you delivered an that day if        13 A.   That is the total prcxiuct carmission that was earned
        14      you 'Mere to add them up?                                   14      based on what was delivered.
        15 A.   Yes.                                                        15 Q.   And that w:ruld be what the total product c:armission
        16 Q.   Okay. And it says -- the next colunn says llllits, 8        16      that you would have earned on each one of those days,
        17      percent. And what does that refer to?                       17      correct?
        18 A.   '1he total quantity delivered of the prcxiuct.              18 A.   To my llllderstanding, that is correct.
        19 Q.   And the quote end quote -- it says, the next colurm --      19 Q.   And what does the BJ colunn represent?
        20      I believe it's -- nCM 'Me' re talking the fifth fron        20 A.   That, I am llllSUI'e of.      So that, I'm -- that colunn,
        21      left, it says, a:M, 8 percent. What does that colunn        21      I I m llllSUI'e of .
        22      refer to?                                                   22 Q.   Okay. And this particular sheet has t1«> colUimS that
        23 A.   '1he ccmni.ssion earned.                                    23      just have dashes in them.         It says, unit bonus and m
        24 Q.   I see. And, nCM, going on the sarre three collllll1S --     24      bonus.     D:> you kncM what toose are?
        25      now, oo you understand how that colurm, 8 percent --        25 A.   No, I do not kna.it what those 11.00.ld be pertaining to.


                                                                  Page 27                                                           Page 29
         1      it says colunn with the 8 percent, was calculated?           1 Q.   Now, the second colurm from the right says base on
         2 A.   Yes.                                                         2      top. What does that refer to?
         3 Q.   How was that calculated?                                     3 A.   That \t,UUld be our base pay, our daily rate.
         4 A.   It is 8 percent of the third colunn f ron the left.          4 Q.   Okay. And the colunn on the far right, it says total
         5 Q.   'Ihe colunn that says sales, 8 percent, correct?             5      cn-t. What does that represent?
         6 A.   'Ihat is my understanding, yes.                              6 A.   That was total carmission for products that -..ere
         7 Q.   And then there's three collllll1S that go sales, 16          7      delivered.
         8      percent and units, 16 percent and ems, 16 percent.           8 Q.   1IIld by total ccmni.ssion -- let rre see here. U!t rre
         9      Are toose similar - - is the sales, 16 percent,              9      get my colU!lllS correctly. So by total ccmni.ssion, is
        10      total -- a list of total sales of certain prcxlucts for     10      it correct to say that's an anount that was above the
        11      each day?                                                   11      arrount that I s in the colurm on the - - it's the first
        12 A.   Yes.                                                        12      coltnm -- second colunn fron the right that says base?
        13 Q.   And then the sarre with the llllits? It's a certain         13 A.   Yes, that was the arrollllt that exceeded the $120 daily
        14      nuimer of certain number of units for each product          14      rate.
        15      every day?                                                  15 Q.   And if you don't mind, I'm going to scroll dcw:l.             I'm
        16 A.   Yes, it's the sarre with the 16 percent colunns.            16      looking at, I'm thinking of one of these.            U!t rre see
        17      That I s how ltUch was the sales price; if that was         17      if I can find sooething here.           I'm ~ing to -- I'm on
        18      delivered, how many units 'Mere delivered, and the          18      another page DCM.        I'm on Bates number 5064, and I
        19      ccmni.ssion earned that was delivered.                      19      \\01.lld ask you to take a minute to look at the colurm,
        20 Q.   And just a slx>rtcut.      So does the colunn that says     20      particularly the colUimS in them, and take as lOIY:J as
        21      a:M, 16 percent represent a 16 percent of the colunn        21      you need to take to see if that w:iuld be the sarre
        22      that says sales, 16 percent? Would that be correct?         22      answers that you gave rre for the treaning of those
        23 A.   'Ihat 1«>11ld be my understanding, yes .                    23      colurms and the numbers in them that you gave rre
        24 Q.   1IIld total sales -- I'm not going to ask you to do the     24      previously.        If there I s any exceptions or sorrething
        25      nath per se, but is your understanding -- l«>Uld that       25      you don t understand in that, please let rre kna.it, and
                                                                                               I




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                                                              Page 30                                                           Page 32
         1      take as lcng as you need.   I'm in no hurry here.         1       looking at the top, it looks at the pay period fmn --
         2 A.   Frcxn what I'm reading, everything agrees with what was   2       it says about the second set of columns -- rows &:,.,,.n,
         3      presented on the other slip.                              3       pay period, 11/15/21 to 11/28/21. The particular
         4 Q.   And I'm going to ask you to focus on the far right        4       Bates number of this one is 003154, and these -- this
         5      colllltl1 where it says, total COi again. And on the       5      is a group of Mr. Suj~ki 's pay stubs that were
         6      second line item down, there is a dash there. What         6      produced in the -- I believe I have the -- I am
         7      does that dash there irean?                                7      looking for the range here, fran 3031 to 3057. And as
         8 A.   There was no acklitional cxmnission eamed above the        8      I mentioned off the record, we can supply this one as
         9      $120 daily rate.                                           9      an exhibit -- this one page as an exhibit, and we will
        10 Q.   So if I go over on that sane line, five colunns to the    10      redact all the personal infornation out of it. So I
        11      left, under the -- it says total prod (X)f. Where it      11      mud like to tum your attention to what is about
        12      says 99. 72, what is that 99. 72 number?                  12      25 -- you kncM, a quarter of the way &::,.,.n. There's a
        13 A.   '!hat w:ruld be total product ccmnission earned.          13      box on the left, rrore less on the left side that --
        14 Q.   And is it correct to say that for that day on your        14      and there's a narrow colurrn. It says earnings. Under
        15      route, you l!.Otlld have received -- for that day, you    15      that, there's a description, hours, day, current, and
        16      w:ruld have been paid the base rate and only the base     16      Y'ID. Under that, there's a series of numbers with --
        17      rate for that day; is that correct?                       17      next on the rows, regular vacation and HS --
        18 A.   '!hat is correct, yes.                                    18      ccmnission and HSER payirent. Mr. Suj~ki, do you
        19 Q.   And then to confirm, for the other colunns on the         19      see what I'm referring to there?
        20      right, you w:ruld have received on the days --            20 A.   Yes.
        21      representing the other days of that week, you w:ruld      21 Q.   And there I s a ICM that says regular and current      oours,
        22      have received the base plus the far right colunn          22      slash, days, current. And do you know what the
        23      where it says total (X)f; is that correct?                23      numbers in that row refer to?
        24 A.   Yes, that is correct.                                     24 A.   Let's see. Are you referring to the regular and then
        25 Q.   Okay. Did anyone, at any point, explain this way of       25      the hours --

                                                             Page 31                                                                     Page 33
         1      calculatin:J your payirent to you?                         1 Q.   No, just the regular.            We will go dchm columns, but
         2 A.   '!hat, I cannot recall. I'm sure it was went over at       2      sane I think might be -- but there's a regular, and it
         3      our orientation, but I kind of -- I figured out the        3      says 9.0.
         4      structure on my own from these slips.                      4 A.   Yes.
         5 Q.   And the slips, when did you -- do you recall when or       5 Q.   What does that 9.0 refer to?
         6      how often you received these slips?                        6 A.   Number of days lr.Orked for that pay period.
         7 A.   They were mailed to us.                                    7 Q.   And the current -- what is the number, the 1260
         8 Q.   Okay. How often were they miled to you?                    8      number -- 1260 number that refers to under the current
         9 A.   We WJUld have received them every week.                    9      colunn?
        10 Q.   Okay. Now, I'm going to find another doculrent.           10                      MR. FRISCll:      If you kncM.
        11      Please bear with re a minute to ll'8ke sure I get the     11                      'lHE WI'INESS:     I'm sorry?
        12      right one. Unfortunately, my particular copies I have     12 BYMR. (U,!!,1!N3S:
        13      here are not searchable, so you will have to bear with    13 Q.   Do you kncM what that mmiber refers to under the
        14      l1'e just a minute while I scroll through things.         14       current colunn, the one that says --
        15      Rather than take up rrore tire, I will just -- I'm        15 A.   How ruch regular pay was fran that pay period.
        16      goin:J to be putting up your pay staterrent, and I        16 Q.   And by regular pay, do you happen to irean -- I'm not
        17      wanted to see - - I thought I had that one for - - that   17       trying to put l!.Urds in your nouth, the base rate you
        18      particular week that -- we looked that up, but I will     18      ~ d have received for those nine days?
        19      find another pay staterrent that we can use. I'm going    19 A.   That w:ruld be my understanding, yes.
        20      to share the screen here. Just a minute. So I'm           20 Q.   Okay. And not to ll'8ke you do mth here, that mmber
        21      puttin:J up a doculrent. Can you see a doCUirent on the   21      1!.Uuld cane out to $140 per day. Did you have -- did
        22      screen ro1, Mr. Suj~ki?                                   22      you have differing -- varying nurrbers of base rates
        23 A.   Yes.                                                      23      during the tin-e that you \\Orked at Absopure? Because
        24 Q.   And I •m going to state for the record, this is an        24      we saw an earlier one that says 120 per day, and I am
        25      unredacted and confidential pay staterrent. And           25       looking at one here that says -- it looks like it I s


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                                                              David Sujkowski
                                                                 July 06, 2023                                                      34 to 37
                                                                      Page 34                                                              Page 36
         1      numbers, I will just represent, 140 a day.       I want to       1 A.   Are you speaking fron the norent that we -- that the
         2      see if your recollection if you, at one point, had a            2       check-in was with the wareoouse errployee?
         3      base rate of 140 per day.                                        3 Q.   Yes, from that norent, when you w:>uld have (inaudible)
         4 A.   Yes, during the later term -- titre during I was there,         4       the receipt, I recall.
         5      they raised the daily rate from 120 to 140.                      5 A.   Yes, I \\Otlld say fron that norent, that titre frarre, on
         6 Q.   And so skipping da.m ahead to holiday, i,.ould it be             6      a standard day, 20 to 30 minutes.
         7      correct to say that the 2.0 and the 280 next to it,              7 Q.   I see. Were there longer or slx>rter titres than that?
         B      'AtJU.ld it be correct to say that that neans you had t\\O       8 A.   If there were - - nothing slx>rter.     Standard \\Ould be
         9      lx>lidays you were paid for and at $140 per day?                 9      20 to 30 minutes.    If there was any longer, I don't
        10 A.   Yes.                                                            10      recall.
        11 Q.   Okay. And the fifth row down there says ccrnni.ssion,           11 Q.   was there any other occasional -- you gave tre a list
        12      and going over it, it says 849.66.      What does that          12      of things that you typically did from tlx>se - - during
        13      nunter represent?                                               13      that titre period, from the check-in with the warehouse
        14 A.   'lb my understanding, that \\Otlld be the airount,              14      person until the titre you left. Were there any other
        15      carmission earned during that pay period.                       15      kind of activities that might care up that you can
        16 Q.   And 'AtJU.ld that be the -- 'AtJU.ld it be, to your             16      recall that \\Ollld take longer that weren't typical rut
        17      understanding, the co:mtlssion that you were paid over          17      carre up occasionally?
        18      and above whatever the base rate was for those days?            18 A.   Nothing that I can recall, no.
        19 A.   Yes.                                                            19 Q.   Okay. And give tre a minute.       I I m going to put another
        20 Q.   Okay. And if I understand, this covers a period of              20      docutrent in front of you, and I will put it on the
        21      t"-t> weeks; is that correct?                                   21      screen here.    For the record, this is a doctment
        22 A.   Yes.                                                            22      bearing Bates nwrbers 0177 through 0208. On the
        23 Q.   NcM, unfortunately, I couldn I t get my hands on them           23      screen currently, we're s:ticMing that the first page of
        24      right away, and if this question doesn't aake sense,            24      it was 0177. Mr. SUjkcMski., do you see that, the
        25      that's fine.    But if I were to go -- if I recall the          25      docutrent?


                                                               Page 35                                                                     Page 37
         1      carmission -- of the stateirents about ccmni.ssion that          1 A.   Yes.
         2      we looked at previously, were at one a week basis. Do            2 Q.   Do you recognize this doc:unent?
         3      you recall that?                                                 3 A.   I -- that appears to be the handbook that 11.0Uld have
         4 A.   I'm sorry.     You cut out on my screen.                         4      been given out.
         5 Q.   I •m sorry. Never mind.     I said -- so i,.ould you have        5 Q.   Okay.     I'm going to scroll through it for you, and
         6      received -- I •m going to ask the question.       For that       6      I 111 do it at a IOOderate pace.     If you want rre to stop
         7      person's ccmni.ssion -- for the dates of the                     7      or want to look at anything rore closely, let tre know,
         8      ccmni.ssion, I will call them ccmni.ssion mmters, and            B      and to see -- so you can see the pages.        And I •m not
         9      the other regular and numbers, w:>uld you have received          9      goirY:J to stop any longer on one particular area just
        10      a piece of paper with toose sarre ccmnission colU[lllS          10      yet. And I' 11 scroll at about this pace all the way
        11      that we looked at previously? Would you have received           11      through.     I think it should take rre no rore than 35
        12      those that slx>uld add up to these numbers? Is that             12      seconds to finish this just for completion sake.         I'm
        13      your understanding?                                             13      going to -- what I •m going to ask you when I get to
        14 A.   'lbat is hCM I 1.!0uld understand it, yes.                      14      the bottom is, did you ever read through this docurrent
        15 Q.   Okay. All right. '!bat's good enough for here. And              15      that you recall?
        16      I'm going to shcM you -- oo you know what? So I think           16 A.   Not that I can recall.
        17      I tray have forgotten to ask you questions about your           17 Q.   But do you recall at least seeing the cover sheet to
        18      daily routine. I wanted to get back to that. At the             18      the document?
        19      end of the day when you brought your truck back to the          19 A.   I can't recall that, as well.
        20      facility, I want to ask you, if you can recall, from            20 Q.   Do you recall if anyone ever rrentioned the document --
        21      the titre that you confirrred your inventory with the           21      this docurrent to you?
        22      warehouse personnel wen you brought your truck back             22 A.   Not that I can recall. It l«lUl.d have been -- if it
        23      en the handheld until the titre you finished for the            23      w:>uld have been, it 'AtJU.ld have been wen we started,
        24      day, oo you have a recollection of hcM long that                24      but I don't recall.
        25      typically took?                                                 25 Q.   And then I'm going to -- we'll put that up.        I'll just


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                                                              David Sujkowski
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                                                               Page 38                                                              Page 40
         1      nark this as the next exhibit. I think we' re up to 3.       1        having or not having a Ccxmercial Oriver' s License
         2      If scxrehJw I've missed sarething, we will nark it           2        rreant for your position at Absopure?
         3      accordingly later. And the next documant here, give          3                         MR. FRISCll: Objection, vague.
         4      rre a minute. We will stop this for just a second. I         4                         You can answer if you understand what he's
         5      will try to quickly get another d:>ctment up for you.         5       asking.
         6      Okay. And -- okay.     I will now share it.   I have put      6 A.    I did not understand -- I didn't understand the
         7      on the screen a doc:um=nt. At the top, it says,               7       difference between having it and not having it, no.
         8      verification and consent, agreement and                       8 BY MR. ctJ.lMlN:,S :
         9      acknowledgement. 'I1le particular documant bears the          9 Q.    When you first began at Absopure, did you spend
        10      Bates stanps number 2025. And, Mr. SUjkowski, I' 11          10       anytirre driving with another person when you began?
        11      ask you, do you re003I1ize this documant?                    llA.     Yes.
        12 A.   I recognize it as an acknowledgement with my                 12 Q.    And what was that? HcM often and who, if you recall?
        13      signature.                                                   13 A.    I spent one week with one driver and then the next
        14 Q.   And that is your signature on it?                            14       three days and the next week with another driver.
        15 A.   Yes.                                                         15 Q.    Do you recall who those drivers were?
        16 Q.   Okay. And I'll read the first part, the first                16 A.    The first driver's name was Andrew Mumford, and the
        17      paragraph.   It says, understand that my associate           17       second driver was Ren cal.hOlm.       I believe that was his
        18      handbook outlines my privileges and benefits as well         18       last narre.
        19      as my reSlX)IlSibilities and obligations as an associate     19 Q.    And you had mentioned previously that you had a
        20      of Absopure water eoopany. Do you recall haVIDiJ read        20       supervisor by the name of 'lbny. Do you recall his
        21      that?                                                        21       last name?
        22 A.   I can't -- I'm sure they asked rre to read it.     I can't   22 A.    I do not, no.
        23      recall if I read it or not or if I skirmed it.      I        23 Q.    If I said the narre 'Ibny Freeze, 11.0\lld that -- or
        24      cannot recall.                                               24       Freeze, would that refresh your recollection?
        25 Q.   Do you recall whether or not you signed this docu!rent       25 A.    Not -- that sounds right, but not entirely.


                                                               Page 39                                                             Page 41
         1      saretirre at the beginning of your errployment at             1 Q.    Okay. And you mentioned another manager by the name
         2      Absopure?                                                     2       of Alex. Do you recall that person's last name?
         3 A.   Since -- I mud agree to that because that is my               3 A.     I do not, no.
         4      signature.                                                    4 Q.    If I said the name Alex Meeks (phonetic) , \IO.lld that
         5 Q.   I see. And that is -- the date an the bottan is --            5        refresh your merrory as to who that Alex was?
         6      by any chance, do you recognize whether or not that           6 A.    lhat sounds correct, yes.
         7      date that •s written in there, 2/1/21, is that your           7 Q.     can you recall the names of any other supervisors or
         8      handwriting?                                                  8       managers that you worked with?
         9 A.   Yes.                                                          9 A.     Not that I can recall, no.
        10                   MR. ~ : Okay.          I think I'm probably     10 Q.     can you recall any of the names of the people you
        11      done with my questions.    If it's okay with everybody       11        \IO.lld have dealt with handing in your paperwork to, or
        12      else, I toought I might take just a very short break.        12        your handheld to, at the end of the day?
        13      I nay have one or tw::> tr0re questions, and then Mr.        13 A.     I cannot recall their nanes, no.
        14      Frisch might have sore questions.     Is that okay with      14 Q.     Okay. Nc:M, you had mentioned for me sare typical
        15      everybody?                                                   15        times that you spent at the beginning of the day
        16                   MR. FRISCll: Yes.                               16        between the tirre you arrived and the time that you
        17                   MR. ~ :        We' 11 take just a short         17        left with the truck for the day and also the other
        18      break. Off the record.                                       18        side of the day between a checking in, printing it
        19                (Off the record at 5:03 p.m.)                      19        with the warehouse person and leaving for the day.
        20                   (Back on the record at 5: 10 p. m.)             20        I'm asking, did you make any observations or can
        21 BY MR. OM100S:                                                    21        recall any observations about the times that other
        22 Q.   Mr. SUjkowski, did you have a Coamercial Oriver' s           22        truck drivers \f.Ould have spent either in the morning
        23      License while you were w::>rking with Absopure?              23        time or in the afternoon tirre?
        24 A.   I did not.                                                   24 A.     Not a --
        25 Q.   Did you have an understanding of what significance           25 Q.     Go ahead, please.


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                                                                       David Sujkowski
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                                                                           Page 42                                                                       Page 44
         1 A.   ltlt a specific pattern that I can recall, no.                           1       ll0ke -- I irean, on OOf/ nany days did you have to ll0ke
        2 Q.    On either side.       Like to just give an exarrple.            I'm      2       a second run?
         3      not trying to put anything in your head.               If you            3 A.    Approxi11B.tely -- just about every titre.
        4       regularly \!Orked with another driver and you happened                   4 Q.    Every titre that you drove the van?
         5      to know how long his titre in the noming was before he                    5 A.   Yes.
         6      left or sane in the evening.             Do you have any                  6                   MR. a»tINGS:        Okay.   I have no further
         7      recollection along those lines?                                           7      questions.
         8 A.   There was nothing that I really nonitored that                            8                   MR. FRISOI:      He will read, and we'll take a
         9      closely, no.                                                              9      copy if Mr. CUnmings orders.
        10                   MR. ~ : Okay.                  That ends my                 10                   MR. a»t!OOS:        Yes, we will be ordering.
        11      questions.                                                               11                   O'.XJRT REEORTER:     Are both orders e-trans?
        12                   MR. FRISOI:            I just have a few foll<M-up          12                   MR. FRISCll:     That \\UUld be fine with us.
        13      questions.                                                               13                   MR. aMUNG.S:        Yes, we're fine with that.
        14                                    EXAMINATION                                14                   (Deposition concluded at 5:17 p.m.
        15 BY MR. FRISCll:                                                               15                   Signature of the witness was requested. l
        16 Q.   Did you drive a variety of different types of vehicles                   16
        17      during your period of your errployirent with Absopure,                   17
        18      or was it al"-8.ys the sane type of vehicle?                             18
        19 A.   I drove different types of vehicles, yes.                                19
        20 Q.   Did you ever drive -- my understanding is they had --                    20
        21      in addition to, I guess, bigger trucks, they also had                    21
        22      vans that were used for the deliveries; is that right?                   22
        23 A.   Yes.                                                                     23
        24 Q.   Were you cne of the drivers who drove the vans on                        24
        25      occasion?                                                                25


                                                                           Page 43                                                                       Page 45
                                                                                          1 JUSTIN GUY, individually and on
         1 A.   Yes.
                                                                                          2 behalf of those similarly situated,
         2 Q.   Do you know -- can you give ire an approxi11B.tion of how
                                                                                                               Plaintiff,
         3      IIBilY titres you think during your enployrrent you drove
                                                                                                        vs.                    Case No. 20-cv-12734-MAG-EAS
         4      a van to carplete your deliveries?
                                                                                          5                                    HON. MARK A. GOLDSMITII
         5 A.   An approxi11B.te, 15 to 20 titres.
                                                                                          6 ABSOPURE WATER COMPANY, LLC
         6                     MR. FRISOI:          Okay. Thanks.    I have nothing
                                                                                          7 a domestic limited liability company,
         7      further.
                                                                                                               Defendant.
         8                     MR. tt.J.ll,1IOOS:     I will just foll<M up.
                                                                                          9 _ _ _ _ _ _ _ _ _ __
         9                                 RE-EXAMINATION
        10 BY MR. ClJ,IMOOS:                                                             10

                                                                                         11                      VERIFICATION OF DEPONENT
        11 Q.   What were the cirCUll'Stances under \rmich you w:mld have
        12      driven a van?                                                            12

                                                                                         13                    I, having read the foregoing deposit.ion
        13 A.   If there were trucks that were unavailable due to --
                                                                                         14      consisting of my testimony at the aforementioned time
        14      or requiring rraintenance.
                                                                                         15      and place, do hereby attest to the correctness and
        15 Q.   Would you have -- did you drive the vans on your
                                                                                         16      truthfulness of the transcript.
        16      regular routes? You said it was dawntown?
                                                                                         17
        17 A.    I -- yes, I w:mld have taken a van down there, yes.
                                                                                         1B
        18 Q.   Okay. When you did that, was there ever an issue with
                                                                                         19
        19      having enough product to conylete your route on the
                van?                                                                     20                           DAVID SUJKOWSKI
        20
                                                                                         21                           Dated:
        21 A.   Typically, there \10Uld have not been enough product on
                                                                                         22
        22      the van to carplete my entire route.                I l«l\lld have had
        23      to go back to Plynouth and then head back out for a                      23

                                                                                         24
        24      second run.
                                                                                         25
        25 Q.   So did you have to -- how often did you have to



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                                                                  David Sujkowski
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                                                                    Page 46
         l                               ERRATA SHEET

         2

         3 PAGE    LINE   CORRECTION

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                                                                    Page 47
         1                           CERTIFICATE OF REPORTER

         2

         3 STATE OF MICHIGAN)

                              ) ss
         5 COUNTY OF MONROE     l



         7                              I hereby certify that I reported

         a        stenographically the foregoing proceedings and

         9        testimony under oath at the time and place

        10        hereinbefore set forth; that thereafter the same was

        11        reduced to computer transcription under my

        12        supervision; and that this is a full, true, complete

        13        and correct transcription oC said proceedings.

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        22                      Laurie R. Mayer, CSR-5385

        23                      Notary Public

        24                      Monroe County, Michigan

        25          My Commission expires:      August 9, 2025




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